              Case 3:17-cv-05760-BHS Document 22 Filed 12/21/17 Page 1 of 9



 1                                                            HONORABLE BENJAMIN H. SETTLE
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8

 9
     HP TUNERS, LLC, a Nevada limited liability )
     company,                                   ) NO. 3:17-cv-05760-JRC
10                                              )
                          Plaintiff,            ) JOINT STATUS REPORT
11                                              )
           vs.                                  )
12                                              )
     KEVIN SYKES-BONNETT and SYKED              )
13   ECU TUNING INCORPORATED, a                 )
     Washington corporation,                    )
14
                                                )
                          Defendants.           )
15

16          In accordance with Federal Rule of Civil Procedure 26(f) and Local Civil Rule 16,
17   Plaintiff HP Tuners, LLC (“HPT”) and Defendants Kevin Sykes-Bonnet and Syked ECU Tuning
18   Incorporated (“Defendants”) (collectively, the “Parties”) hereby file this Joint Status Report.
19   I.     NATURE OF THE CASE/PRINCIPAL ISSUES
20          This case concerns alleged misappropriation of Plaintiff’s source code and proprietary
21   information by the Defendants. HPT is a niche business, which provides complete, cost effective
22   automotive tuning and data acquisition solutions for enthusiasts and professional shops. HPT’s
23   business includes but is not limited to computer hardware and software designed for use in
24   custom and/or pre-programmed engine and transmission tuning and calibration applications for
25


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 1   automobiles, trucks and other types of vehicles (including but not limited to ATV’s,
 2   snowmobiles and watercraft) (the “HP Tuners Business”).
 3          Plaintiff alleges that Defendants’ have misappropriated HPT’s code and incorporated it
 4   into the products and software it is developing and that released on October 31, 2017. Plaintiff
 5
     alleges that there is exact duplication of HPT parameter names (character per character,
 6
     including abbreviations) showcased in Defendants’ own software.                    Plaintiff alleges that
 7
     Defendants have copied HPT’s licensing and have publicly admitted to hacking and reversing
 8
     HPT’s software for their own benefit.
 9
            Defendants have been in the business of tuning vehicles for performance and economy
10
     for numerous years. As part of that business, Defendants independently developed their own
11
     software application for tuning vehicles having electronic control units, which has been in use
12

13   for nearly three years. Accordingly, Defendants deny Plaintiff’s allegations and rely on the fact

14   that Defendants’ software could not possibly incorporate any of HPT’s code since Defendants’

15   software already existed for years prior to Plaintiff alleging that Defendants misappropriated

16   HPT’s code. Defendant further alleges that it is in fact HPT that has hacked and reverse
17   engineered the software products of others and has been doing so for years.
18
            HPT has asserted claims for (i) violation of the Computer Fraud and Abuse Act
19
     (“CFAA”) arising under 18 U.S.C. §1030; (ii) violation of the Defend Trade Secrets Act
20
     (“DTSA”), 18 U.S.C. §1836 et seq.; (iii) misappropriation of trade secrets arising under the
21
     Washington Uniform Trade Secrets Act, RCW 19.108; (iv) violation of the Illinois Trade Secrets
22
     Act, 765 ILCS 1065/1 et. seq.; (v) unfair competition under the Washington Consumer
23
     Protection Act, RCW 19.86.020; (vi) unfair competition under the Illinois Consumer Fraud and
24
     Deceptive Business Practices Act, 815 ILCS 505/1 et. seq.; (vii) breach of contract; and (viii)
25
     tortious interference with prospective economic relations.

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 1          Defendants filed an answer on October 19, 2017 denying the material allegations of
 2   Plaintiff’s Complaint in their entirety.
 3   II.    PROCEDURAL POSTURE
 4          This case was filed on September 20, 2017. Plaintiff filed a motion for Temporary
 5   Restraining Order, which was denied on October 18, 2017. The date for hearing on Plaintiff’s
 6   motion for preliminary injunction has not been scheduled. Defendants answered on October 19,
 7   2017. Defendants served Requests for Production on Plaintiff on December 2, 2017. Plaintiff
 8   intends to issue written discovery on or before December 12, 2017.
 9   III.   PROPOSED DISCOVERY PLAN – Fed. R. Civ. P. 26(f)(3)
10          (A)     The Parties shall exchange initial disclosures on or before December 19, 2017.
11          (B)     The Parties anticipate taking discovery in accordance with the applicable civil
12   rules on subjects pertinent to their claims and/or defenses. As noted above, Defendants served
13   requests for production of documents on December 2, 2017. Plaintiff intends to issue written
14   discovery on or before December 12, 2017.
15          (C)     The Parties anticipate seeking discovery of electronically stored information,
16   including emails and other electronic communications, as well as documents generally kept in
17   the usual course of business. The Parties do not anticipate the discovery of electronically stored
18   information to present unique or complex issues.
19          (D)     The Parties do not anticipate that privilege issues will play a larger role in this
20   case than they typically do, but expect to ask the Court to enter a stipulated order under Federal
21   Rule of Evidence 502.
22          (E)     The Parties do not agree to limiting discovery beyond the limits imposed by the
23   applicable federal and/or local rules.
24          (F)     The Parties do not believe at this time that the Court should enter any other orders
25   under Fed. R. Civ. P. 26(c), 16(b) or 16(c). The Parties do anticipate the need for a stipulated

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 1   protective order before exchanging documents pursuant to discovery requests to protect
 2   confidential information.
 3   IV.    LOCAL CIVIL RULE 26(f)
 4          (A)      As to possibilities for promptly settling or otherwise resolving the case, Plaintiff’s
 5   position is that, at this juncture, sufficient information is not available based on the current state
 6   of the pleadings and declarations, as well as previously-known information, to attempt to settle
 7   or otherwise resolve the entire case or substantial portions of the case. Specifically, Plaintiff
 8   asserts that it is necessary that Plaintiff conduct an analysis of the software as well as investigate
 9   a handful of issues prior to discussing any resolution.
10          Defendants’ position is that early settlement of this matter should be pursued given the
11   ease with which Defendants can demonstrate that the Syked ECU Tuning software was
12   independently developed and does not contain any proprietary information from Plaintiff’s
13   software.
14          (B)      As to whether the parties plan to engage in some form of alternative dispute
15   resolution, Plaintiff’s position is that it is prepared to engage in alternative dispute resolution
16   such as mediation, once it has had an opportunity to conduct an analysis of the software as well
17   as investigate a handful of issues prior to discussing any resolution.
18          Defendants have proposed that an early settlement conference occur at which both parties
19   meet to evaluate their respective software products simultaneously to prove that Defendants’
20   software does not incorporate any of HPT’s allegedly proprietary source code. Defendants
21   believe that once they have demonstrated their software was independently developed, this
22   matter should be promptly dismissed. .
23          (C)      There are no related cases.
24

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 1             (D)    The Parties do not presently anticipate any need for extra discovery management
 2   other than possible entry of a stipulated protective order to protect confidential information and a
 3   Rule 502 clawback order.
 4             (E)    The Parties anticipate taking discovery in accordance with the applicable rules on
 5   subjects germane to their claims or defenses.
 6             (F)    The Parties do not anticipate any need to formally phase motions practice.
 7             (G)    The Parties do not believe this case presents any unique preservation of evidence
 8   issues.
 9             (H)    The Parties do not anticipate that privilege issues will play a larger role in this
10   case than they typically do. The Parties anticipate the possible need for the entry of a Rule 502(d)
11   or (e) order to address any inadvertent production of privileged information and other privilege
12   issues.
13             (I)-(J) The Parties do not anticipate that discovery of ESI will be a significant issue in
14   this case. The Parties agree to use their best efforts to resolve any disputes regarding the ESI
15   discovery before seeking court intervention.
16   V.        DISCOVERY DEADLINES
17             The Parties discussed the subjects upon which fact discovery may be needed and the need
18   for expert discovery.      The Parties have submitted a proposed discovery plan attached as
19   Exhibit A.
20   VI.       EXPERTS DESIGNATIONS AND REPORTS
21             The Parties have submitted a proposed case schedule attached as Exhibit A.
22   VII.      MOTIONS DEADLINES
23             The Parties have submitted a proposed case schedule attached as Exhibit A.
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 1   VIII. ADDITIONAL PARTIES/AMENDMENTS TO PLEADINGS
 2           The Parties do not anticipate the joinder of any additional parties or amendments to
 3   pleadings at this time. However, they have agreed that the deadline for joinder of any additional
 4   parties or amendments to pleadings shall be March 1, 2018.
 5   IX.     CONSENT TO MAGISTRATE JUDGE
 6           The Parties do not consent to a trial by a Magistrate Judge.
 7   X.      BIFURCATION
 8           Not applicable.
 9   XI.     PRETRIAL STATEMENTS
10           The Parties agree at this time that there is no need to dispense with the pretrial statements
11   or pretrial order called for by the local rules.
12   XII.    OTHER SUGGESTIONS FOR SIMPLIFYING CASE
13           The Parties have consented to accept electronic service pursuant to FRCP 5(b)(2)(E).
14   The Parties at this time have no other suggestions for shortening or simplifying the case. The
15   Parties have considered and rejected the option of requesting an Individualized Trial Program
16   under LCR 39.2.
17   XIII. TRIAL
18           A.      Number of Trial Days: 3-5.
19           B.      Trial By Jury or Non-Jury: Trial by jury has been demanded.
20   XIV. SCHEDULING CONFERENCE
21           The parties do not believe that the administration of the case may benefit from the Court
22   holding a scheduling/status conference.
23   //
24   //
25   //

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 1   Dated: December 21, 2017                    Respectfully Submitted:
 2   HEURLIN, POTTER, JAHN, LEATHAM,               LANE POWELL PC
     HOLTMANN & STOKER, P.S.
 3

 4
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11   E-mail: andrew@marksklein.com               Syked ECU Tuning Incorporated

12   Attorneys for Plaintiff
     HP Tuners, LLC
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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on December 21, 2017, I caused the foregoing to be electronically
 3   filed with the Clerk of the Court using the CM/ECF system which will send notification of such
 4   filing to the following:
 5          Gregory F. Wesner
            John E. Whitaker
 6
            LANE POWELL PC
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            Attorneys for Defendants
10          Kevin Sykes-Bonnett and
            Syked ECU Tuning Incorporated
11
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 1                                            EXHIBIT A
 2                           Event Deadline                        Proposed Date

 3             Initial Disclosures                                  COMPLETED
 4             Confidential Settlement Meeting*                          2/28/18
 5             Joinder of Parties/Amended Pleadings                       3/1/18
 6             Close of Fact Discovery                                    6/1/18
 7             Plaintiffs’ Experts’ Reports                               7/2/18
 8             Defendants’ Experts’ Rebuttal Reports                      8/1/18
 9             Close of Expert Discovery                               By 9/1/18
10             Mediation                                              By 9/15/18
11
               Dispositive Motions                                      10/18/18
12
               Oppositions                                               11/5/18
13
               Replies                                                   11/9/18
14
               Trial Date                              The parties will be ready for trial at
15                                                     the Court's convenience any time
                                                       after a ruling on any dispositive
16                                                     motions.

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